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                                                                                  EAs-#:.•s. DISTRICT COURT
                                                                                        RN DISTRICT ARKANSAS


                 IN THE UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF ARKANSAS     JAMES
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UNITED STATES OF AMERICA        )                                                                          DEPCLERK
                                              )
V.                                            )       No. 4:19CR00037: BS/Vl
                                              )
JOSE REYES-SANCHEZ,                           )
EMIDIO MANZANARES-CASTRO,                     )
      aka Emidio Manzaros,                    )
      aka Apple Amado Castroll-Leon           )
OMAR GILLIAM,                                 )
JAY HEAD,                                     )
DESHON CULBREATH,                             )
TERRI BLEVINS,                                )
RANDY HOUSMAN,                                )
JERENA WILLIAMS,                              )
AMANDA HOPKINS,                               )
SCOTTY DAWSON, and                            )
JOSHUA VANESCH                                )

                              MOTION TO SEAL INDICTMENT

       Pursuant to Federal Rule of Criminal Procedure 6(e)(4), and in order to prevent flight of

the defendants prior to arrest and to protect officers executing the arrest warrant, the United

States requests that the above-styled indictment be sealed until the defendants are in custody or

have been released pending trial.


                                              CODY HILAND




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                                             ORDER

       Pursuant to the above request, the indictment in this matter shall be sealed until the

defendants are in custody or have been released pending trial.



DATE                                         UNIT                              TE JUDGE
